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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )           CASE NO. 8:02CR353
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )                    ORDER
                                             )
ROY C. STRAUGHAN,                            )
                                             )
                    Defendant.               )


      This matter is before the Court on the Defendant’s motion for an extension of time

to “respond” to the Court’s Memorandum and Order summarily denying his motion filed

under 28 U.S.C. § 2255 (Filing No. 650).

      No “response” to a Memorandum and Order summarily denying a § 2255 motion is

permitted under applicable rules.

      IT IS ORDERED:

      1.     The Defendant’s motion for an extension of time to (Filing No. 650) is denied;

and

      2.     The Clerk is directed to mail a copy of this Order to the Defendant at his last

known address.

      DATED this 9th day of May, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
